AO 91 (Rev. 02/{)9) Criminal Complaint
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UNITED STATES DlsTRlCT CoURT
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Lj\ ' District of Arizona
%\\Lj United Stat:s of America )
) _
Mario Hernandez Perez ) Case No. [('g ~..»»» jr j §§ Y:% j
(A 205 407 493) )
Defendant )
)
CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief

On or about the date of June l6, 2017, in the County of Maricopa, in the Distriet of Arizona, the
defendant violated Title 8, U.S.C. § l326(a), an offense described as follows:

l\/lario Hernandez-Perez;, an alien, Was found in the United States of Ameriea at or near Phoenix,
in the District of Arizona, after having been previously denied admission, excluded, deported, and
removed from the United States at or near Nogales, Arizona, on or about April 29, 2014, and not
having obtained the express consent of the Secretary of the Department of Homeland Security to
reapply for admission thereto; in violation of Title 8, United States Code, Section l326(a), and
enhanced by (b)(l). l further state that l am a Deportation Officer.

This criminal complaint is based on these facts:

See Attached Statement of Probable Cause Incorporated By Reference I-Ierein

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REVIEWED BY: Charles E. Bailey, P.S. for AUSA Brooke Afsbari

Continued on the attached sheet. _ //%

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K__,t/`” Compiainant ’s signature

Javier M. Leon,
Deportation Ofi`icer

 

Prr`nted name and rifle

Sworn to before me and signed in my presence

mata May 16, 2013 § g g

y Judge’ s signatm e

  

Bridget S. Bade,
City and state: Phoenix, Arizona United States Magistiate Judge _ y

P.' fitted name and title

 

STATEMENT OF PROBABLE CAUSE

l, Javier l\fl. Leon, being duly sworn, hereby depose and state as follows:

l. Your affiant is a Deportation Officer With United States lmmigration and _Customs
Enforcement (ICB). l have learned from direct participation in the investigation and
from the reports and communications of other agents and officers the facts recited

herein.

. On June 16, 2017, in Phoenix, Arizona, Mario l-lernandez-l?erez vvas booked into the
Arizona State Prison Complex (ASPC), Alhambra Reception, on local charges On
that date, While at the ASPC facility, l-lernandez-Perez Was encountered by
Corrections Ofiicer (CO) F. Colmenero Who Was designated With the authority to
determine alienage under the Immigration and Naturalization Act, Section 287(g).
CO P. Colmenero determined HernandeZ~PereZ to be a citizen of l\/lexico, illegally
present in the United States. A detainer Was lodged With the ASPC on June l9, 2017.
On May 15, 2018, HernandeZ-Perez Was released from the Arizona Departrnent of
Corrections and transported to the Phoenix ICE office for further investigation and
processing l-lernandez-Per<":zl Was held in administrative custody until his criminal

and immigration records could be obtained and his identity confirmed

 

3.

Immigration history checks revealed Mario Hernandez-Perez to be a citizen of
Mexico and a previously deported criminal alien. HernandeZ-Perez was removed
from the United States to Mexico through Nogaies, Arizona, on or about April 29,
2014, pursuant to the reinstatement of a previous order of removal issued by an
immigration official. There is no record of Hernandez-Perez in any Department of
Homeland Security database to suggest that he obtained permission from the
Secretary of the Department of Homeland Security to return to the United States after
his removal. Hernandez~Perez’s immigration history was matched to him by

electronic fingerprint comparison

Criminal history checks revealed that Mario HernandeZ-Perez was convicted of
Solicitation to Commit Sale or Ti'ansportation of Marijuana, a felony offense, on
March 15, 2013, in the Superior Court of Arizona, Maricopa County. I-lernandez-
Perez Was sentenced to one and one half (1.5) year of incarceration l-lemandez»

Perez’s criminal history Was matched to him by electronic fingerprint comparison

On l\/lay 15, 2018, Mario Hernandez-Perez was advised of his constitutional rights
Hernandez-Perez freely and Willingly acknowledged his rights and declined to make

any further statements

For these reasons, this affiant submits that there is probable cause to believe that on or

about June 16, 2017, Mario Hernandez~Perez, an alien, Was found in the United S_tates

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of America, at or near Phoenix, in the District of Arizona, after having been
previously denied admission, excluded, deported, and removed from the United States
at or near Nogales, Arizona, on or about April 29, 20l4, and not having obtained the
express consent of the Secretary of the Department of Homeiand Security to reapply
for admission thereto; in violation of Title 8, United States Code, Section 1326(a), and

enhanced by (b)( l ).

 

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fdav'ler M. Leon,
Deportation Officer, '
Immigration and Customs Enforcement

Sworn to and subscribed before me
this 16th day of May, 2018.

Bridget S. Bade,
- United States Magistrate Judge

   

 

